                      Case 2:12-cr-00235-ECM-TFM Document 424 Filed 12/24/13 Page 1 of 6

AO 24513        (Rev. 09/11) .liLdgnicflt in a Criminal Case
0               Slice[ I



                                               UNITED STATES DISTRICT COURT
                                                               M IDDLE DISTRICT OF ALABAMA

                UNITED STATES UI AMERICA                                               .JUDGMENT IN A CRIMINAL CASE
                                       V.
                                                                                            (WO)

                      KEVIN LEVAN ELMORE                                               Case Number: 2:12ci235-MEE-0I

                                                                                        USM Number: 14040-002

                                                                                        Richard Kelly Keith
                                                                                       Dr ieidani s A troriie'v
THE DEFENDANT:
Y^i llended gwiltv W CO1IutS)               1 and 44 of the Indictment on 8113/2013
U pleaded nob contcndcrc 0 e0int(')
     which .s as accepted by the court.

U was tound guilty on count(s)
  tiller a pica Of 110L guilty

ilie defendant is adjudicated guilty of these offenses:

Title & Section                       Nature of Offense                                                              Offense Ended            Count

    21846                               Conspiracy to Distribute Controlled Substance                                 05/31/2012               1

    2l843(b)                            Use of a Communication Facility to Facilitate a Drug Offense                  12/16/2011              44




T See ad muons! count(s) on ri age 2

           The defendant us sentencod as provided in pages 2 through 6 ol this judgment. I he sentence is imposed pureuant to the
Sentencing Reform Act of 1 984.
L The defendant has been fotiiid not gwhiy on Count(s)
     (our1I(5)
                 39, 42, and 45-57 of the Ind                    U is   dare dismissed on the motion of he United States.

         It is ordered that the defendant t rust notify the United Stales attorney for this district within 30 days of any change o name, residence,
or mailing addrezos until all lines, resti1u6011 costs, and special assessments imposed by 1hisjudgmeriL are hilly paid. If ordered to pay restitution,
the defendant must notify the court and United States ationicy of material changes in economic circumstances.

                                                                              12/1 7/13
                                                                              Dale ol ln)P0s it inn O Judgiiicii I




                                                                              Sigilniure ol .hitlgc



                                                                              Mark E. Fuller, United States District Judge
                                                                              Name ol Ititiste                               1 tIc ut Judge




                                                                              Date
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AD 245B           (Rev. 09/i1) .tudginenl in a Criminal Case
VI                Sheet 2— Imprisonment

                                                                                                                          Judgment Page: 2 of 6
     DEFENDANT: KEVIN LEVAN ELMORE
     CASE NUMBER: 2:12ci235-MEF-01


                                                                     IMPRISONMENT

              The defendant is hereby committed to the custody of the United Slates Bureau of Prisons to he imprisoned for a
     total term of:
      One Hundred Thirty Six (136) Months. This term consists of 136 months on count one can 48 months on count 44, all such
      terms to run concurrently.



               The court makes the Ibliowing recommendations to the Bureau of Prisons:

         The court recommends that the defendant be designated to a facility where intensive residential substance abuse treatment
         and mental health treatment are available.



               The defendant is remanded to the custody of the United States Marshal.

           LI The defendant shall surrender to the United States Marshal for this district:

               LI at ______                       ____ LI a.m. LI p.m. on

               LI as notified by the United States Marshal.

           LI The defendant shall surrender lbr service of sentence at the institution designated by the Bureau of Prisons:

               LI before                    on

               LI as notilied by the United States Marshal.

               LII as notified by the Probation or Pretrial Services Office.



                                                                           RETURN
     I ha e executed this judgment as thI lows:




               Defendant delivered on

     a                                                         with a certified copy of this judgment.



                                                                                                            tINITFI) STATES MARSHAL


                                                                                   By
                                                                                                         DEPUTY UNITED STATES MARSHAL
                               Case 2:12-cr-00235-ECM-TFM Document 424 Filed 12/24/13 Page 3 of 6

    AO 245B               (Rev 09!1 1) Judgineni in a Cone usi Cnse
    V1                    Slice: 3 - Supervised Release


     DEFENDANT: KEVIN LEVAN ELMORE                                                                                                  Judgment Page: 3 of 6
     CASE NUMBER: 2:12cr235-MEF-01
                                                                      SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall he oil     release for a term of
         Four Years. This term consists of four years on count one and one year on count 44, all such terms to run concurrently.


              The dei'endant must report to the probation office in the district to vvhicli the defenUant is released within 72 hours of release from the
     custody of the Bureau of Prisons.
         The defendant shall not commit another federal, slate or local crime.
     The defendant shall not unlawlijllv possess a controlled substance. The defendant shall refrain from any unlawful use ala controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter, as determined by the court.
                   The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
                   future substance abuse. (Check, if applicable)

                   The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, )fajplicable.)
                   The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, i[app6cabie)

               defendant shall coniplyw ith the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901. el seq.)
         U The
           as directed by the probation officer. the Bureau of Prisons, or any state sex offender registration agency in which he or she resides.
                   works, is a student, or was convicted of a qualifying offense. (Chuck, if applicable.)

         fl        The defendant shall participate in an approved program for domestic violence. (Check. if applicable.)
                 If this judgment imposes a line or restitution, it is a condition of supervised release that the defendant pay in accordance with the
         Schedule o Payments sheet of this judgment.
               The defendant must compl y with the standard conditions that hze been adopted by this court as well as with any additional conditions
     on the attached page.

                                                      STANDARD CONDITIONS OF SUPERVISION
I   )               the defendant shall not [cave the judicial district without the permission of the court or probation officer;
              2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation olliecr;
              3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions o( the probation officer;
              4)    the defendant shall support his or her dependents and meet other family responsibilities;
              5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                    acceptable reasons;
           6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
              7)    the defendant shall refrain from excessive use ot'alcoliol and shall not purchase, possess, use, distrihute, or administer any
                    controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
               )    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered:
           9)       the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa
                    felony, unless granted permission to do so by the probation officer;
         10)        the defendant shall permi: a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation ofany
                    contraband observed in plain view of the probation officer;
          II) the defendant shall notify the probation officer within seventy-two hours of heing arrested or questioned by a law cnforccrrent officer;
         12)        the defendant shall not enter into any agreement to Oct as an informer or a special agent ofa law enl'orcemnt agency without the
                    permission of the court; and

         13)        as directed b y the probation officer, the defendant shall notil' third parties of risks that ma y he occasioned by the defendant's criminal
                    record or 1personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                    defendant s compliance with such notification requirement.
                  Case 2:12-cr-00235-ECM-TFM Document 424 Filed 12/24/13 Page 4 of 6

A() 245B      (Re 09 1 1 1) .iudgincni in n Cnmnin] ('ne
vi            SheeL 3(' - Supnr\ isd ReIene

                                                                                                         Judgment Page: 4 of 6
 DEFENDANT: KEVIN LEVAN ELMORE
 CASE NUMBER: 2:12cr235-MEF-01

                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall participate in a mental health treatment program approved by the United States Probation Office
     and shall contribute to the cost based on ability to pay and the availability of third-party payments.

     3) The defendant shat submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
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AD 245R          (Rev 09/1 1).ludgment in a Criminal Case
vi               Street S - Criminal Monetary Penalties

                                                                                                                          Judgment Page: 5 of
     DEFENDANT: KEVIN LEVAN EL.\4ORE
     CASE NUMBER: 2:I2cr235-MEF0I
                                                   CRIMINAL MONETARY PENALTIES
         The defendant must pay the Lola] criminal monetary penalties under the schedule of payments on Sheet 6.


                           Assessment                                     Fine                                  Restitution
 TOTALS                S 200.00                                         $ 0.00                               S $0.00



     E The determination uI reStitution is del-erred until                    An AinendedJiidgmeni in a Criminal Case (,G 245c) will he entered
         after such determination.

     LI The defendant must make restitution (including community restitution) to ille lidlowing payees in the amount listed below.

         II. the defendant makes a partial payment. each pa y ee shall receive an appro sri male ly proportioned payment, unless specified otherwise in
         the priorit y order or percentage paYment column l,elow. However. pursuant to 18 U.S.C. § 3664(r), all nonfederal victims must he paid
         before the'l Jnited States is paid.

     Name of Payee                                                    Total Loss*               Restitution Ordered Priority or Percentae




 TOTALS                                                                                $0.00                      $0.00



 LI       Restitution amount ordered pursuant to plea agreement S

 LI The defendant musi pay interest on restitution and a line ol' more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment. pursuant to IS U.S.C. § 3612(1). All of the payment options on Sheet 6 may he subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

 LI      The court determined that tire dcIindant does not have the abilit y to pay, interest and it is ordered that:

          LI the interest requirement is waived for the         LI fine LI restitution.

         LI the interest requirement for the           0 fine     0 restitution is modified an follows:


  Findings for the total anDunt of losses are required under Chaçters 109A, 110, 1 bA. and 113A of Title tS for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                    Case 2:12-cr-00235-ECM-TFM Document 424 Filed 12/24/13 Page 6 of 6

AO 215B         (Rev OOt 1 Judgment in a Criminal Case
V1              Sheet 6—Schedule ot Payiucnla

                              Judgment Page: 6 of 6
 DEFENDANT: KEVIN LEVAN ELMORE
 CASENUMBER: 2:12cr235-MEF-01


                                                         SCHEDULE OF PAYMENTS

 11asng assessed the defendant's ability to pay, Payment o the total criminal monetary penalties is due as follos:

 A          Lump sum pa y ment of$ 200.00                 --- due immediatel y , balance due


            E       not Later than                                   or
                    in accordance               C.D.                 U, or       'F below; or

 B          Payment to begin immediately (may be combined with               El C,          D, or        F below); or

 C          Payment in equal             -         (e.g wee/i-It, monthly, quarterly) installments of S                            o'er a period of
                         (e.g., months or)-ears), to commence                        (e.g. 30 or 60 day s) oIler the date of this udgmcnt: or

 D          Payment in equal                     (e.g. vveekiv, ,nonthiy, quorterlt) installments of S                           over a period of
                         (C g. months or isom), to commence                         (e.g.JO or 60 cloj-s) aller release liom imprisonment 10 a
            term ulsupers sian: or

 F     F7 Payment during the term of supervised release will commence within                 (e.g 30 or 60 c/arc) alter release from
           imprisonment. The Court will set the payment plan based oil assessmenl of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment ol'criminal monetary penalties:

            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 Unless the eoLIrt has expressly ordered otherwise, if thisjudgment imposes imprisonment. payment of crininal monetar y penalties is due during
 imprisonment. All crimnal monetary penalties. except those payments made through the Federal Bureau of Prisons' inmate Financial
 Responsibility Program. are made to the clerk Of the court.

 The defendant shall receive credit for all payments previousl y, made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant ,a(mber), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 E    The defendant shall pay the cost of'prosecution.

 E The defendant shall pay the following court cost(s):
 E    The defendant shall forfeit the defendant's interest in the following property to the United Stales:




 Payments shall be applied in the following order: (t) assessment, (2) restitution principal, (3) restitution interest - (4) fine principal,
 (5) line interest. (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
